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                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA


      IN THE UNITED STATES DISTRICT COURT FOR THE NORTHERN
                       DISTRICT OF ALABAMA
                      NORTHWESTERN DIVISION

BEVERLY JOY ROGERS,                            )
                                               )
        Plaintiff,                             )
                                               )
v.                                             )      Case No. ___________
                                               )
VOLKSWAGEN,                                    )
                                               )
        Defendant.                             )

                              NOTICE OF REMOVAL

        Pursuant to 28 U.S.C. § 1332, 1441, and 1446, Defendant Volkswagen Group

of America, Inc. (“Volkswagen”) files its Notice of Removal of this action from the

Circuit Court of Lauderdale County, Alabama, where it is now pending, to the

United States District Court for the Northern District of Alabama, Northwestern

Division. As grounds for this removal, Volkswagen respectfully states as follows:

I.      INTRODUCTION.

        1.      On May 2, 2022, Plaintiff Beverly Joy Rogers filed a Complaint against

Volkswagen purporting to assert a claim pursuant to the Alabama Extended

Manufacturer’s Liability Doctrine (“AEMLD”) in the Circuit Court of Lauderdale

County, Alabama styled Beverly Joy Rogers v. Volkswagen, Civil Action No. CV-

22-15. (Complaint, included in Exhibit 1). Plaintiff claims she sustained personal

injuries and demands damages of Two Million Dollars ($2,000,000). (Id.)



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      2.      Volkswagen denies every material allegation of wrongdoing asserted in

the Complaint. Because, however, complete diversity of citizenship exists between

Plaintiff and Volkswagen, and because the amount in controversy exceeds the sum

of Seventy Five Thousand Dollars ($75,000), exclusive of interest and costs, this

Court possesses jurisdiction over this matter pursuant to 28 U.S.C. § 1332, 1441,

and 1446.

      3.      According to the Lauderdale County Clerk’s Office, Volkswagen was

served with a copy of the Summons and Complaint on May 10, 2022. (Exhibit 1).

A true and correct copy of all process, pleadings, and orders served on Volkswagen

in this action to date is attached as Exhibit 1. Removal is timely because this Notice

of Removal is filed within thirty (30) days after service on Volkswagen of the

Complaint which establishes grounds for removal. The Circuit Clerk of Lauderdale

County has been notified of this removal.

II.   LEGAL ARGUMENT IN SUPPORT OF THIS COURT’S REMOVAL
      JURISDICTION.

      4.      Removal is proper pursuant to 28 U.S.C. § 1332, 1441, and 1446 as

there exists complete diversity of citizenship between Plaintiff and Volkswagen and

the amount in controversy exceeds the sum of Seventy Five Thousand Dollars

($75,000), exclusive of interest and costs. Removal is appropriate in “any civil

action brought in a State Court of which the district courts of the United States would

have original jurisdiction.” 28 U.S.C. § 1441(a). The District Courts of the United

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States have original jurisdiction over this matter because the amount in controversy

exceeds the sum of $75,000, exclusive of interest and costs, and this matter is

between “citizens of a State and citizens or subjects of a foreign state….” 28 U.S.C.

§ 1332(a)(2). Removal is timely because it was filed within thirty (30) days after

the date of service on Volkswagen of the Complaint which provides the basis for

removal. 28 U.S.C. § 1446(b).

       5.      The United States District Court for the Northern District of Alabama,

Northwestern Division, encompasses Lauderdale County, the county in which the

State Court action is now pending. Thus, this Court is the proper venue for this

action pursuant to 28 U.S.C. § 81(a)(1) and 28 U.S.C. § 1441(a).

III.   DIVERSITY JURISDICTION – 28 U.S.C. § 1332.

       A.      Complete Diversity Exists.

       6.      Plaintiff is a resident of the State of Mississippi.

       7.      Volkswagen is incorporated under the laws of the State of New Jersey

with its principal place of business in Herndon, Virginia. Pursuant to 28 U.S.C. §

1332(c)(1), “a corporation shall be deemed to be a citizen of every State and foreign

state by which it has been incorporated and of the State or foreign state where it has

its principal place of business.” As such, Volkswagen is a citizen of New Jersey and

Virginia. (Id.)

       8.      There are no other Defendants named in the Complaint.


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      B.      The Amount In Controversy Exceeds The Sum Of $75,000.

      9.      The Complaint demands damages of Two Million Dollars

($2,000,000). (Complaint). As such, it is beyond dispute the amount in controversy

exceeds the jurisdictional threshold of $75,000, exclusive of interest and costs.

      10.     Based on the fact the Complaint demands Two Million Dollars

($2,000,000) of damages, jurisdiction is proper in this Court. Removal is thus proper

pursuant to 28 U.S.C. § 1332, 1441, and 1446 because the amount in controversy

element is satisfied. Thus, jurisdiction is proper in this Court. As such, removal is

proper pursuant to 28 U.S.C. § 1332, 1441, and 1446 because the amount in

controversy element is satisfied.

      C.      Notice Of Removal Was Timely.

      11.     Volkswagen was served with the Complaint on May 10, 2022. (Exhibit

1). Consistent with the 28 U.S.C. § 1446 and the Federal Rules of Civil Procedure,

therefore, this Notice of Removal is timely filed within thirty (30) days of that date.

      12.     The Complaint was filed May 2, 2022. (Exhibit 1). Volkswagen filed

this Notice of Removal within one year of the commencement of this action. (Id.)

No previous application for removal has been made.




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IV.   CONCLUSION.

      13.    This Notice of Removal has been timely filed within thirty (30) days of

the date of service on Volkswagen of the Complaint.

      14.    A true and correct copy of this Notice of Removal has been served on

all Parties and filed with the Circuit Court of Lauderdale County, Alabama.

      15.    The prerequisites for removal under 28 U.S.C. § 1441 have been met.

      16.    Volkswagen respectfully requests an opportunity to brief and argue

before this Honorable Court any issue or question concerning removal of this case

in the event remand is sought by Plaintiff or otherwise visited by the Court.

      WHEREFORE, PREMISES CONSIDERED, Defendant Volkswagen Group

of America, Inc. respectfully requests that the above referenced case, now pending

in the Circuit Court of Lauderdale County, Alabama, be removed to the United

States District Court for the Northern District of Alabama, Northwestern Division.

                                Respectfully Submitted,

                                s/ Stephen W. Still, Jr.
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                             CERTIFICATE OF SERVICE

      I hereby certify that on June 3, 2022, I filed the foregoing with the Clerk of
the Court and served a copy on the following electronically and by U.S. Mail,
postage prepaid:

Beverly Joy Rogers, pro se
6 County Road 473
Rienzi, Mississippi 38865
                                               s/ Stephen W. Still, Jr.
                                               Of Counsel




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